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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

TRACY KING, CHANCE MICKIEL,                 )
JACKLIN MICKIEL, ROBERT                     )
MICKIEL, STEVEN MICKIEL,                    )       Case No.: 08 C 7174
NICHOLAS MICKIEL,STACY M.                   )
MICKIEL                                     )       JUDGE ST. EVE
               Plaintiffs,                  )
                                            )       MAGISTRATE JUDGE NOLAN
v.                                          )
                                            )
WASIM M. SAID, Star # 10192, ERIC R.        )
RUHNKE, Star #13698, TODD E.                )
WITULSKI, Star # 15592, STEPHEN E.          )
BOYD, Star #12598, DAVID A.                 )
BROWN, Star 15887, KEVYN L. LOTT,           )
Star #11296, JAMES D. FRANKLIN,             )
Star #15170, MARION D. ANDERSON,            )
Star # 16133, ELVIN H. BOONE, Star          )
#1964, ERIKA A. RODRIGUEZ, Star #           )       JURY DEMANDED
11057, CHARLES J. BARANGO, Star #           )
15937, STEVEN A. GIMENEZ, Star              )
#17998, KENNETH G. JOHNSON, Star            )
#14, and The City of Chicago.               )
                                            )
                    Defendants.             )



                       PLAINTIFFS’ FIRST AMENDED COMPLAINT

                                 JURISDICTION AND VENUE

       1. This action arises under the United States Constitution and the Civil Rights Act of

1871 [42 U.S.C. Section 1983]. This court has jurisdiction under and by virtue of 28 U.S.C.

Sections 1343, 1331, 1367.

       2. Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district.




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                                             PARTIES

       3. At all times herein mentioned, Plaintiff TRACY KING (hereinafter “T. KING”),

was and is now a citizen of the United States.

       4. At all times herein mentioned, Plaintiff CHANCE MICKIEL, (hereinafter “C.

MICKIEL”), was and is now a citizen of the United States.

       5. At all times herein mentioned, Plaintiff JACKLIN MICKIEL (hereinafter “J.

MICKIEL”), was and is now a citizen of the United States.

       6. At all times herein mentioned, Plaintiff ROBERT MICKIEL (hereinafter “R.

MICKIEL”), was and is now a citizen of the United States.

       7. At all times herein mentioned, Plaintiff STEVEN MICKIEL (“S. MICKIEL”), was

and is now a citizen of the United States.

       8. At all times herein mentioned, Plaintiff NICHOLAS MICKIEL (“N. MICKIEL”),

was and is now a citizen of the United States.

       9. At all times herein mentioned, Plaintiff STACY M. MICKIEL (hereinafter “S. M.

MICKIEL”), was and is now a citizen of the United States, and a minor born on July 19, 1994,

and her mother and legal guardian, TRACY KING is suing on her behalf.

       10.     At all times herein mentioned, Officer Wasim M. Said, Star # 10192 (“Said”),

was employed by the City of Chicago Police Department and was acting under color of state law

and as the employee, agent, or representative of the City of Chicago Police Department. This

officer is being sued in his individual capacity.

       11.     At all times herein mentioned, Officer Erik R. Ruhnke, Star # 13698 (“Ruhnke”),

was employed by the City of Chicago Police Department and was acting under color of state law




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and as the employee, agent, or representative of the City of Chicago Police Department. This

officer is being sued in his individual capacity.

       12.     At all times herein mentioned, Officer Todd E. Witulski, Star # 15592

(“Witulski”), was employed by the City of Chicago Police Department and was acting under

color of state law and as the employee, agent, or representative of the City of Chicago Police

Department. This officer is being sued in his individual capacity.

       13.     At all times herein mentioned, Officer Stephen E. Boyd, Star # 12598 (“Boyd”),

was employed by the City of Chicago Police Department and was acting under color of state law

and as the employee, agent, or representative of the City of Chicago Police Department. This

officer is being sued in his individual capacity.

       14.     At all times herein mentioned, Officer David A. Brown, Star #15887 (“Brown”),

was employed by the City of Chicago Police Department and was acting under color of state law

and as the employee, agent, or representative of the City of Chicago Police Department. This

officer is being sued in his individual capacity.

       15.     At all times herein mentioned, Officer Kevyn L. Lott, Star #11296 (“Lott”), was

employed by the City of Chicago Police Department and was acting under color of state law and

as the employee, agent, or representative of the City of Chicago Police Department. This officer

is being sued in his individual capacity.

       16.     At all times herein mentioned, Officer James D. Franklin, Star #15170

(“Franklin”), was employed by the City of Chicago Police Department and was acting under

color of state law and as the employee, agent, or representative of the City of Chicago Police

Department. This officer is being sued in his individual capacity.




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       17.     At all times herein mentioned, Officer Marion D. Anderson, Star #16133

(“Anderson”), was employed by the City of Chicago Police Department and was acting under

color of state law and as the employee, agent, or representative of the City of Chicago Police

Department. This officer is being sued in his individual capacity.

       18.     At all times herein mentioned, Sergeant Elvin H. Boone, Star #1964 (“Boone”),

was employed by the City of Chicago Police Department and was acting under color of state law

and as the employee, agent, or representative of the City of Chicago Police Department. This

officer is being sued in his individual capacity.

       19.     At all times herein mentioned, Officer Erika A. Rodriguez, Star #11057, was

employed by the City of Chicago Police Department and was acting under color of state law and

as the employee, agent, or representative of the City of Chicago Police Department. This officer

is being sued in her individual capacity.

       20.     At all times herein mentioned, Officer Charles J. Barango, Star #15937

(“Barango”), was employed by the City of Chicago Police Department and was acting under

color of state law and as the employee, agent, or representative of the City of Chicago Police

Department. This officer is being sued in his individual capacity.

       21.     At all times herein mentioned, Officer Steven A. Gimenez, Star #17998

(“Gimenez”), was employed by the City of Chicago Police Department and was acting under

color of state law and as the employee, agent, or representative of the City of Chicago Police

Department. This officer is being sued in his individual capacity.

       22.     At all times herein mentioned, Officer Kenneth G. Johnson, Star #14 (“Johnson”),

was employed by the City of Chicago Police Department and was acting under color of state law




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and as the employee, agent, or representative of the City of Chicago Police Department. This

officer is being sued in his individual capacity.

         23. At all times herein mentioned, the City of Chicago was a political division of the

State of Illinois, existing as such under the laws of the State of Illinois. At all relevant times, the

City of Chicago maintained, managed, and/or operated the City of Chicago Police Department.

                                   FACTUAL ALLEGATIONS

         24. On or about September 24, 2008, at approximately 9:40pm, the Defendant

police officers illegally broke into and raided the house at 6501 S. Vernon in Chicago, Illinois

60637.

         25. On that date, the premises at 6501 S. Vernon in Chicago, IL 60637 was owned by

Plaintiff T. King, who lived there with Plaintiffs C. Mickiel, J. Mickiel, R. Mickiel, N. Mickiel,

S. Mickiel, and S. M. Mickiel and other individuals.

         26. The Defendant police officers did not present a search warrant for the house at

6501 S. Vernon, Chicago, IL 60637.

         27. The Defendant police officers did not knock on the doors, nor did they allow a

reasonable amount of time for the occupants to respond, before breaking in, entering, or

attempting to enter the house at 6501 S. Vernon, Chicago, IL 60637.

         28. Despite the fact that Plaintiffs made no attempt to leave and did nothing to resist or

interfere with the actions of the police, the Defendant police officers pulled their guns and

pointed them at plaintiffs‟ heads, including T. King, who had a heart condition at the time and T.

King‟s son, who was only six-years old, and J. Mickiel‟s son, who was only four-months old. T.

King‟s six-year old son began to vomit as a result of Defendants‟ actions. All Plaintiffs were




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seized, and Plaintiffs C. Mickiel, R. Mickiel, S. Mickiel, N. Mickiel, J. Mickiel, and S. M.

Mickiel were handcuffed.

        29. The Defendants searched and tore up the house, leaving the house in total

disarray, all without legal cause or justification.

        30. Plaintiffs were detained and held under arrest during the wrongful search.

        31. There was no legal cause to seize and arrest Plaintiffs.

        32. Plaintiffs C. Mickiel, R. Mickiel, S. Mickiel, N. Mickiel, and S. M. Mickiel, who was

only fourteen years old at the time, were subjected to unnecessary and unreasonable force.

        33. Plaintiffs C. Mickiel, R. Mickiel, S. Mickiel, N. Mickiel, and S. M. Mickiel in no way

consented to this conduct.

        34. Plaintiffs C. Mickiel, R. Mickiel, S. Mickiel and N. Mickiel were driven to the police

station where they were imprisoned. No criminal charges were filed against these Plaintiffs.

        35. Plaintiffs T. King, J. Mickiel, and S. M. Mickiel were transported outside their

residence along with T. King‟s six-year old son and J. Mickiel‟s four-month old son during the

Defendants‟ raid into the residence. During that time these Plaintiffs were not free to leave.

        36. By reason of the above-described acts and omissions of Defendants, Plaintiffs

sustained injuries including, but not limited to, humiliation and indignities, medical expenses,

suffered great physical, mental, and emotional pain and suffering all to him damage in an amount

to be ascertained.

        37. The aforementioned acts of the Defendants were willful, wanton, malicious,

oppressive and done with reckless indifference to and/or callous disregard for Plaintiff‟s rights

and justify the awarding of exemplary and punitive damages in an amount to be ascertained

according to proof at the time of trial.



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       38. By reason of the above-described acts and omissions of the Defendants, Plaintiff was

required to retain an attorney to institute, prosecute, and render legal assistance to him in the

within action so that he might vindicate the loss and impairment of his rights. By reason thereof,

Plaintiff requests payment by Defendants, and each of them, of a reasonable sum for attorney‟s

fees pursuant to 42 U.S.C Section 1988, the Equal Access to Justice Act or any other provision

set by law.

                                                COUNT I

 All Plaintiffs Against All Individual Defendants for Illegal Search Without Warrant and
                                  Without Probable Cause

       39. Plaintiffs incorporate and re-allege paragraphs one (1) through thirty-eight (38)

hereat as though fully alleged at this place.

       40. Plaintiffs did not consent to the search of their residence at 6501 S. Vernon in

Chicago, Illinois 60637, nor did anyone else with authority to do so.

       29. The Individual Defendants had no search warrant, no probable cause, no legal cause,

and no legal authority to enter and search the home of Plaintiffs.

       30. By the conduct of the Individual Defendants, Plaintiff were deprived of rights,

privileges, and immunities secured to them by the Fourth and Fourteenth Amendments to the

United States Constitution and laws enacted thereunder. Therefore, Individual Defendants are

liable to Plaintiffs pursuant to 42 U.S.C. § 1983.

                                                COUNT II

              All Plaintiffs Against Individual Defendants for Unreasonable Search

       31. Plaintiffs incorporate and re-allege paragraphs one (1) through thirty-eight (38)

hereat as though fully alleged at this place.




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       32. By reason of defendants‟ conduct, plaintiffs were deprived of rights, privileges, and

immunities secured to them by the Fourth and Fourteenth Amendments of the Constitution of the

United States and laws enacted thereunder.

       33. The arbitrary intrusion by defendants, into the security and privacy of plaintiffs‟

residence was in violation of plaintiffs‟ Constitutional Rights and not authorized by law. The

defendants violated the plaintiffs‟ rights in the following manner: (1) the forcible entry and

search of the residence of the plaintiffs without a search warrant describing plaintiffs‟ residence

as the premises to be searched was unnecessary, without legal cause, unreasonable and

excessive; and (2) causing excessive and unnecessary property damage to the residence of

plaintiffs. These acts were in violation of the plaintiffs‟ Fourth Amendment rights. Therefore,

the defendants, and each of them, in their individual capacity are liable to plaintiffs pursuant to

42 U.S.C. § 1983.


                                            COUNT III

               All Plaintiffs Against All Individual Defendants for Illegal Entry

       34. Plaintiff hereby incorporates and re-alleges paragraphs one (1) through thirty-eight

(38) hereat as though fully alleged at this place.

       35. The Individual Defendants did not knock on the doors, nor did they allow a

reasonable amount of time for the occupants to respond, before entering or attempting to enter

6501 S. Vernon in Chicago, Illinois.

       36. By the conduct of the Individual Defendants, Plaintiffs were deprived of rights,

privileges, and immunities secured to them by the Fourth and Fourteenth Amendments to the

United States Constitution and laws enacted thereunder. Therefore, Individual Defendants and

each of them, is liable to all Plaintiffs pursuant to 42 U.S.C. § 1983.

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                                            COUNT VI

 T. KING, J. MICKIEL, and S.M. MICKIEL Against All Individual Defendants for False
                                    Arrest

       37.      Plaintiff hereby incorporates and re-alleges paragraphs one (1) through thirty-

eight (38) hereat as though fully alleged at this place.

       38. The detention and arrest of T. King, J. Mickiel, and S.M. Mickiel at 6501 S. Vernon ,

Chicago, IL 60637 caused by the Individual Defendants was without probable cause and was

unreasonable.

       39. By reason of the conduct of the Individual Defendants, Plaintiffs were deprived of

rights, privileges, and immunities secured to them by the Fourth Amendment to the Constitution

of the United States and laws enacted thereunder. Therefore, Individual Defendants are liable for

arrest under 42 U.S.C. § 1983.

                                             COUNT V

    Plaintiffs C. MICKIEL, R. MICKIEL, S. MICKIEL, and N. MICKIEL Against All
                        Individual Defendants for False Arrest

       40.      Plaintiff hereby incorporates and re-alleges paragraphs one (1) through thirty-

eight (38) hereat as though fully alleged at this place.

       41. The arrest and incarceration of Plaintiffs C. Mickiel, R. Mickiel, S. Mickiel, and N.

Mickiel was without probable cause and unreasonable.

       42. By reason of the conduct of the Individual Defendants, Plaintiffs were deprived of

rights, privileges, and immunities secured to them by the Fourth Amendment of the Constitution

of the United States and laws enacted thereunder. Therefore, the Individual Defendants are

liable for arrest under 42 U.S.C. § 1983.




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                                            COUNT VI

 Plaintiffs C. MICKIEL, R. MICKIEL, S. MICKIEL, N. MICKIEL, and S.M. MICKIEL
                   Against Individual Defendants for Excessive Force

       43.     Plaintiff hereby incorporates and re-alleges paragraphs one (1) through thirty-

eight (38) hereat as though fully alleged at this place.

       28. The force used by the Individual Defendants was excessive, unnecessary,

unreasonable, and without legal cause.

       29. By reason of the Individual Defendants‟ conduct, Plaintiffs was deprived of rights,

privileges and immunities secured to them by the Fourth Amendment to the Constitution of the

United States and laws enacted thereunder. Therefore the Individual Defendants are liable to

Plaintiffs C. Mickiel, R. Mickiel, S. Mickiel, N. Mickiel, and S.M. Mickiel pursuant to 42 U.S.C.

§ 1983.

                                            COUNT VII

                       Plaintiffs Against All Defendants For The State
                   Supplemental Claims of Assault, Battery and Intentional
                                Infliction of Emotional Distress

       30.     Plaintiff hereby incorporates and re-alleges paragraphs one (1) through thirty-

eight (38) hereat as though fully alleged at this place.

       31.     The Unknown Defendants caused Plaintiffs to be assaulted, battered and

subjected to the intentional infliction of emotional distress as alleged above.

       32.     The City of Chicago is liable as a result of respondeat superior.

       33.     Therefore, all the Unknown Defendants and the City of Chicago are liable under

the state supplemental claims as stated above.




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          WHEREFORE, Plaintiffs Tracy King, Chance Mickiel, Jacklin Mickiel, Robert Mickiel,

Steven Mickiel, Nicholas Mickiel, and Stacy Mickiel, by and through their attorneys, Ed Fox &

Associates, requests judgment as follows against the Defendants, and each of them on all claims:

          1. That Defendants be required to pay Plaintiffs general damages, including emotional

distress, in a sum to be ascertained;

          2. That Defendants be required to pay Plaintiffs special damages;

          3. That Defendants, except the City of Chicago, be required to pay Plaintiffs „

attorney‟s fees pursuant to Section 1988 of Title 42 of the United States Code, the Equal Access

to Justice Act or any other applicable provision;

          4. That Defendants, except the City of Chicago, be required to pay Plaintiffs

punitive and exemplary damages in a sum to be ascertained;

          5. That Defendants be required to be pay Plaintiffs costs of the suit herein incurred; and

          6. That Plaintiffs has such other and further relief as this Court may deem just and

proper.

                                                       Respectfully submitted,

                                                       s/Meghan A. Gonnissen
                                                       Meghan A. Gonnissen
                                                       Ed Fox & Associates
                                                       300 W. Adams Street
                                                       Suite 330
                                                       Chicago, IL 60606
                                                       (312) 345-8877
                                                       mgonnissen@efox-law.com




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            PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY


                                         Respectfully submitted,

                                         s/Meghan A. Gonnissen
                                         Meghan A. Gonnissen
                                         Ed Fox & Associates
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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

TRACY KING, CHANCE MICKIEL,                )
JACKLIN MICKIEL, ROBERT                    )
MICKIEL, STEVEN MICKIEL,                   )         Case No.: 08 C 7174
NICHOLAS MICKIEL,STACY M.                  )
MICKIEL                                    )         JUDGE ST. EVE
               Plaintiffs,                 )
                                           )         MAGISTRATE JUDGE NOLAN
v.                                         )
                                           )
WASIM M. SAID, Star # 10192, ERIC R.       )
RUHNKE, Star #13698, TODD E.               )
WITULSKI, Star # 15592, STEPHEN E.         )
BOYD, Star #12598, DAVID A.                )
BROWN, Star 15887, KEVYN L. LOTT,          )
Star #11296, JAMES D. FRANKLIN,            )
Star #15170, MARION D. ANDERSON,           )
Star # 16133, ELVIN H. BOONE, Star         )
#1964, ERIKA A. RODRIGUEZ, Star #          )         JURY DEMANDED
11057, CHARLES J. BARANGO, Star #          )
15937, STEVEN A. GIMENEZ, Star             )
#17998, KENNETH G. JOHNSON, Star           )
#14, and The City of Chicago.              )
                                           )
                  Defendants.              )


                                   NOTICE OF FILING

        To:   Stacy Ann Benjamin
              Rock Fusco, LLC
              321 N. Clark Street, Suite 2200
              Chicago, IL 60610

        PLEASE TAKE NOTICE that on August 20, 2009, the undersigned filed with the Clerk
of this Court, PLAINTIFFS’ FIRST AMENDED COMPLAINT, service of which is being made
upon you.
                                                  s/Meghan A. Gonnissen
                                                   Meghan A. Gonnissen
                                                   ED FOX & ASSOCIATES
                                                   300 West Adams, Suite 330
                                                   Chicago, IL 60606
                                                   (312) 345-8877

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                                    PROOF OF SERVICE

        I, Meghan A. Gonnissen, an attorney, under penalty of perjury, and state that on August
20, 2009, service is being made in accordance with the General Order on Electronic Case Filing
section XI.




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